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                                        ORDERED.
 Dated: November 19, 2024




                              UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

  In re:

  Stephen L. Phelps,                                     Case No. 6:23-bk-05281-TPG
                                                         Chapter 7
                    Debtor.
                                          /

                                  ORDER SCHEDULING TRIAL

           This proceeding came before the Court on November 14, 2024, for a continued preliminary

hearing on the “Trustee’s Objection to Property Claimed as Exempt by Debtor” (Doc. No. 29) and

the Debtor’s “Response to Trustee’s Objection to Exemptions” (Doc. No. 39) (collectively, the

“Objection and Response”). An evidentiary hearing (“Trial”) is scheduled in this proceeding on the

Objection and Response. Accordingly, it is

           ORDERED:

           1.     A Trial will be held on March 27, 2025, at 10:00 a.m., before the Honorable

Tiffany P. Geyer, United States Bankruptcy Judge, at Courtroom 6A, Sixth Floor, of the United

States Bankruptcy Court, 400 West Washington Street, Orlando, Florida 32801.

           2.     The Trial will be in person unless the Court orders otherwise. Any party,

attorney, or witness seeking to be excused from the requirement to appear in person must file a
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motion setting forth why the individual cannot appear in person, as well as whether the opposing

party consents to the appearance via video. Any request to be excused from the requirement to

appear in person must be by motion filed with the Court at least seven days prior to Trial and

accompanied by a proposed order.

        3.      Parties are directed to comply with all requirements of Local Rules 7001-1 and

9070-1, unless modified by this Order.

        4.      Discovery Cutoff. Parties shall complete discovery no later than seven days before

the Trial date, except that parties may complete previously scheduled depositions up to the Trial.1

        5.      Discovery Disputes. The parties must confer in good faith to resolve any

discovery disputes. If unsuccessful, any party may request a telephone conference with the Court

so that the Court may render an informal, preliminary ruling on the discovery dispute, without

prejudice to the right of any party to file a formal motion.

        6.      Witness List. Parties must file and exchange names, telephone numbers, and

addresses for witnesses, and any designations of depositions at least 28 days before Trial.

Objections to the use of depositions must be filed within 14 days of the disclosure.

        7.      Experts and Expert Reports. Unless the Court orders otherwise, a party who

wishes to offer expert testimony at Trial must comply with the requirements of Federal Rule of

Civil Procedure 26(a)(2) and the timing set forth in Federal Rule of Civil Procedure 26(a)(2)(D).

        8.      Exhibits. Parties must comply with all requirements of Local Rules 7001-1 and

9070-1 concerning exhibits. Parties must exchange exhibits no later than seven days before the

date set for Trial. Parties are directed to meet and confer about the admissibility of exhibits at


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 To be considered timely, unless otherwise agreed to by the parties, all discovery must be issued in
compliance with the Federal Rules of Civil Procedure with a return date that is no later than seven days
before the Trial date.



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least three days prior to Trial. Unless written objection to the admissibility of any exhibit is filed

two days before the date set for Trial and served by email, any objection to admissibility (other

than pursuant to Federal Rules of Evidence 402 and 403) shall be deemed waived and copies of

exhibits in lieu of the originals will be admitted. If a party intends to rely upon the self-

authentication procedures of Federal Rule of Evidence 902(11) or (12) with respect to the

introduction into evidence of records of regularly conducted activities pursuant to Federal Rule

of Evidence 803(6), the party must file and serve on other parties the written declaration required

by Federal Rule of Evidence 902(11) or (12) and a copy of all records sought to be admitted at

least 28 days before trial.

        9.      Exhibit Binders. Parties must bring binders of their exhibits to the Trial. Parties

should bring a binder for the judge, opposing counsel, or pro se party, and if applicable, the

witness. Each document in the binder should be separated by a tab and numbered. Numbers

should correspond to the related exhibit number. Documents may be printed double-sided.

        10.     Legal Authority. Parties may, but are not required to, file any legal authority or

Trial memoranda for the Court to consider seven days before the date set for Trial.

        11.     Joint Stipulation of Undisputed Facts. The parties must meet in person or by video

to prepare a joint stipulation of undisputed facts and exhibits that may be admitted into evidence

without objection (the “Joint Pretrial Stipulation”). The Joint Pretrial Stipulation must be filed no

later than seven days before the date set for trial.

        12.     Meet and Confer Requirement. Parties’ counsel and pro se parties must confer

within seven days prior to the Trial and seek in good faith to settle the case.

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      Richard B. Webber II is directed to serve a copy of this order on all interested parties.




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